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 5   Attorney for: Rae Leonard YOUNG
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 8
 9            IN THE UNITED STATES DISTRICT COURT FOR THE
10                     EASTERN DISTRICT OF CALIFORNIA
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12
13
     UNITED STATES OF AMERICA,            )       Case No: 2:09-cr-500 KJM
14                                        )
15                      Plaintiff,        )       STIPULATION AND ORDER
                                          )       TO CONTINUE STATUS
16
                 v.                       )       CONFERENCE
17                                        )
18
     Deandre Lamar DOSTY,                 )
     Rae Leonard YOUNG                    )
19                                        )
20                      Defendants.       )
                                          )
21
22
23         The defendants, Deandre L. Dosty and Rae L. Young, through their
24   undersigned counsel, and the United States, through its undersigned counsel,
25
     hereby agree and request the Status Conference currently set for Thursday, April
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27
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 1   7, 2011 at 10:00 am be vacated and continued until Thursday, April 28, 2011 at
 2   10:00 am.
 3
           A continuance is necessary to provide counsel with additional time for case
 4
 5   preparation and for ongoing plea and sentencing negotiations.
 6
           The parties also stipulate that time should be excluded under the Speedy
 7
 8   Trial Act due to the needs of counsel for continued case preparation and ongoing
 9
     plea and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161
10
11   (h)(7)(B)(iv).
12
           I, William E. Bonham, the filing party, have received authorization from
13
14   Assistant Federal Defender Lexi Negin and AUSA Mike Beckwith to sign and

15   submit this stipulation and proposed order on their behalf.
16
           Accordingly, the defense and the United States agree and stipulate that the
17
18   Status Conference for defendants Deandre L. Dosty and Rae L. Young, should be
19
     continued until Thursday, April 28, 2011 at 10:00 am. The parties stipulate that
20
21   the ends of justice served by granting this continuance outweigh the best interests
22
     of the public and defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
23
24   Dated: April 5, 2011
                                                  BENJAMIN B. WAGNER
25
                                                  United States Attorney
26
27
                                                  By:/s/ WILLIAM E. BONHAM for
                                                  JASON HITT
28                                                Assistant U.S. Attorney


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 1   Dated: April 5, 2011
 2                                             By:/s/ WILLIAM E. BONHAM for
 3                                             WILLIAM E. BONHAM
                                               Counsel for Defendant
 4
                                               Rae Leonard YOUNG
 5
 6   Dated: April 5, 2011                      DANIEL J. BRODERICK
                                               Federal Defender
 7
 8                                             WILLIAM E. BONHAM for
 9
                                               LEXI NEGIN
                                               Assistant Federal Defender
10                                             Attorney for Defendant
11                                             Deandre Lamar DOSTY
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 1                                         ORDER
 2         IT IS SO ORDERED. THE Status Conference for defendants, Deandre L.
 3
     Dosty and Rae L. Young, currently set for Thursday, April 7, 2011 at 10:00 am is
 4
 5   vacated and continued to Thursday, April 28, 2011 at 10:00 a.m.
 6
           I find that the continuance is necessary due to the needs of counsel for
 7
 8   continued case preparation and plea/sentencing negotiations. Accordingly, time is
 9
     excluded under the Speedy Trial Act, due to needs of counsel for additional case
10
11   preparation and ongoing plea/ sentencing negotiations, from April 7, 2011 up to
12
     and including April 28, 2011 pursuant to Local Code T4 and 18 U.S.C. §
13
14   3161(h)(7)(B)(iv). I find that the ends of justice served by granting this

15   continuance outweigh the best interest of the public and defendant in a speedy
16
     trial. 18 U.S.C. § 3161(h) (7)(A).
17
18   Dated: April 6, 2011.
19
20                                             UNITED STATES DISTRICT JUDGE

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